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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
DONALD P. MILLONE, D.C.,                                           :

                                      Plaintiff,                   :

                   - against -                                     :               ORDER

AETNA LIFE INSURANCE COMPANY,                                      :         20-CV-903 (JPC)(KNF)

                                        Defendant.                 :
-----------------------------------------------------------------X
KEVIN NATHANIEL FOX
UNITED STATES MAGISTRATE JUDGE

         The settlement conference scheduled previously for the parties will be held via telephone.

The parties are directed to call (888) 557-8511 and, thereafter, enter access code 4862532.

The parties are to comply with the Court’s settlement procedures located on the court’s website,

except that the respective confidential settlement conference writings should be sent via email to:

elizabeth_potter@nysd.uscourts.gov.

Dated: New York, New York                                          SO ORDERED:
       October 19, 2020
